8:12-cr-00282-BCB-MDN        Doc # 408     Filed: 07/19/13     Page 1 of 2 - Page ID # 1058




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:12CR282
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
ADRIAN PISARES-VALENZUELA,                    )
                                              )
              Defendant.                      )

       The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”), and the Defendant's Objections to the Presentence Investigation

Report (Filing No. 367). The government filed an Objection to Revised Presentence

Investigation Report and Addendum. (Filing No. 385.) See Order on Sentencing Schedule,

¶ 6. The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.     The parties’ objections to the Revised Presentence Investigation Report and

Addendum (Filing Nos. 367 and 385) will be heard at the sentencing hearing;

       2.     The Court intends to adopt the PSR in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary
8:12-cr-00282-BCB-MDN       Doc # 408      Filed: 07/19/13   Page 2 of 2 - Page ID # 1059




hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

      4.     Absent submission of the information required by paragraph 3 of this Order,

these amended tentative findings are final; and

      5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 19th day of July, 2013.

                                         BY THE COURT:


                                         s/Laurie Smith Camp
                                         Chief United States District Judge
